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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
LENORA BROMFIELD,

                                       Plaintiff,

           against
                                                                      CIVIL ACTION NO.: 16 Civ. 10047 (ALC) (SLC)
BRONX LEBANON SPECIAL CARE CENTER, INC., et al.,
                                                                                          ORDER
                                       Defendants.


SARAH L. CAVE, United States Magistrate Judge.

           The Court has reviewed Plaintiff Lenora Bromfield’s most-recent filings, in which Ms.

Bromfield revisits her prior requests for Pro Bono Counsel (ECF No. 186) and for production of

Ian Andrew’s March 20, 2016 Incident Report (“Incident Report”) (ECF No. 185). 1 For the reasons

that follow, Plaintiff’s requests are DENIED.

           a) Pro Bono Counsel

           On August 6, 2020 the Court issued an amended Opinion and Order directing the Clerk of

Court to seek pro bono counsel to assist Plaintiff with settlement negotiations only. ECF No. 162.

The Order specified that “Pro bono counsel will not be obligated to assist with any aspect of

Bromfield’s representation beyond the matters described in this Order. In particular, pro bono

counsel will not be required to respond to a dispositive motion or a discovery motion.” Id. at 11.

The Court informed Plaintiff in another August 6, 2020 Order that “due to a scarcity of volunteer

attorneys, particularly given the COVID-19 pandemic, a lengthy period may pass before counsel

volunteers to represent her. There is no guarantee that a volunteer attorney will decide to take

the case, so Ms. Bromfield must proceed with the case in the interim.” ECF No. 163. The Court


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    In this filing Plaintiff requests a Court-ordered subpoena for the Incident Report.
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has received Ms. Bromfield’s Motion for Reconsideration of the Amended Opinion and Order

Concerning Pro Bono Counsel (ECF No. 166), which seeks similar relief, and will rule on that

motion in due course. Accordingly, this request is DENIED as duplicative of ECF No. 166.

         b) The Incident Report

         The Incident Report is already the subject of at least one of Plaintiff’s pending Discovery

Motions (ECF No. 169, “Plaintiff’s Motion to Compel”) and the Court reminds Plaintiff that the

Court has set a schedule for the parties to address the outstanding discovery disputes. ECF No.

184. Under the schedule, Defendants have been directed to respond to Plaintiff’s Motion to

Compel, and Plaintiff is permitted to submit a reply. Id. On receipt and review of the parties’

filings, the Court will determine whether it is appropriate to schedule a telephone conference to

further discuss the discovery disputes, including concerning the Incident Report. Id. Accordingly,

ECF No. 185 is denied as moot.

         The Clerk of Court is respectfully directed to mail a copy of this Order to Ms. Bromfield at

the address below, and to close ECF No. 186.


Dated:          New York, New York
                October 16, 2020

                                                      SO ORDERED



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge

Mail To:                       Lenora Bromfield
                               66 Washington Terrace
                               Bridgeport, CT 06604



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